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17

18
                                   UNITED STATES DISTRICT COURT
19
                                         DISTRICT OF NEVADA
20

21   Cung Le, Nathan Quarry, Jon Fitch, Brandon        Case No.: 2:15-cv-01045-RFB-(PAL)
     Vera, Luis Javier Vazquez, and Kyle
22   Kingsbury on behalf of themselves and all
     others similarly situated,
23                                                     [PROPOSED] ORDER GRANTING
                     Plaintiffs,                       ZUFFA, LLC’S MOTION TO SEAL
24          v.                                         EXHIBITS TO THE JOINT STATUS
                                                       REPORT
25
     Zuffa, LLC, d/b/a Ultimate Fighting
26   Championship and UFC,

27                   Defendant.
28


                 [Proposed] Order Granting Zuffa, LLC’s Motion to Seal Exhibits to the JSR
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 1                                         [PROPOSED] ORDER

 2          Pending before this Court is the parties Joint Status Report filed on February 19, 2016.

 3   Federal Rule of Civil Procedure 26(c) provides broad discretion for a trial court to permit sealing

 4   of court documents for, inter alia, the protection of “a trade secret or other confidential research,

 5   development, or commercial information.” Fed. R. Civ. P. 26(c). Having considered Zuffa,

 6   LLC’s Motion to Seal, good cause having been shown:

 7          IT IS HEREBY ORDERED THAT Zuffa, LLC’s Motion to Seal is GRANTED. The

 8   Clerk of the Court shall file under seal the documents specified in Zuffa’s Motion.

 9          IT IS SO ORDERED.

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12   DATED: _____________________                      By: _______________________________
                                                           Hon. Peggy A. Leen
13                                                         UNITED STATES MAGISTRATE JUDGE
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               [Proposed] Order Granting Zuffa, LLC’s Motion to Seal Exhibits to the JSR
